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6                                UNITED STATES DISTRICT COURT
                                CENTRAL DISTRICT OF CALIFORNIA
7                                     WESTERN DIVISION
8
       PIPER ZIV,                  )             Case No.: 2:15-cv-09992
9
                                   )
                                   )             STIPULATION FOR VOLUNTARY
                   Plaintiff,      )             DISMISSAL OF A CASE WITH
10
                                   )             PREJUDICE PURSUANT TO
             v.                    )             FRCP 41(a)(1)
11
       WESTSIDE RECOVERY SERVICES, )
12
       LLC; LEONARD GILBERT d/b/a  )
       WESTSIDE RECOVERY SERVICES, )
13
       LLC; LEONARD GILBERT, an    )
       individual;
14                        Defendant.
15              PLEASE TAKE NOTICE that the parties hereby stipulate, and jointly
16     request, that the present proceeding be dismissed with prejudice. Each party is to
17     bear its own attorneys’ fees and costs. Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii),
18     this matter may be dismissed with prejudice without an Order of the Court.
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                                        VOLUNTARY DISMISSAL
       P:01067504-2:87025.177
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1                                        RESPECTFULLY SUBMITTED,
2

3      Date: September 14, 2016
4
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14                                              Attorney for Defendants,
                                                WESTSIDE RECOVERY
15                                              SERVICES, LLC; LEONARD
                                                GILBERT d/b/a WESTSIDE
16                                              RECOVERY SERVICES, LLC;
                                                LEONARD GILBERT, an individual
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                                   VOLUNTARY DISMISSAL
       P:01067504-2:87025.177
